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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               District of District of Columbia


                 United States of America                      )
                             Plaintiff                         )
                             v.                                )      Case No. 21-cr-537
                    Paul Russell Johnson                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Paul Russell Johnson                                                                                          .


Date:        Nov. 1, 2022
                                                                                         Attorney’s signature

                                                                              Todd M. Richman, Va. Bar No. 41834
                                                                                     Printed name and bar number



                                                                                     1650 King Street, # 500
                                                                                     Alexandria, VA 22314
                                                                                               Address

                                                                                      todd_richman@fd.org
                                                                                           E-mail address

                                                                                          703-600-0845
                                                                                          Telephone number

                                                                                          703-600-0880
                                                                                            FAX number
